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                         EXHIBIT G
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March 4, 2021
All DOMESTIC DEFENDANTS’ COUNSEL
VIA EMAIL

                   RE:     Defendants’ methodologies for technology assisted review (“TAR”) - In
                           re Diisocyanates Antitrust Litigation, MDL No. 2862


Dear Counsel:


        I write to follow up regarding our meet and confer on March 2, 2021 regarding Domestic
Defendants’ TAR disclosures.1 During our call we requested that Defendants adopt certain
portions of Plaintiffs’ proposed TAR methodologies to provide transparency as to the
effectiveness of the review. This letter highlights the reasons certain aspects of Defendants’ TAR
methodologies are insufficient to adequately validate the efficacy of the review—specifically, a
proper calculation of recall. We address each of Defendants’ proposals below in turn and provide
additional information as to why Plaintiffs are requesting that Defendants adopt the validation
proposal included in section VII and Appendix A of Plaintiffs February 19, 2021 TAR
methodology disclosures.

        To begin, we would like to address Defendants’ contention during the meet and confer
that Plaintiffs’ proposal is burdensome and disproportionate to the needs of the case, or that
Plaintiffs are expecting perfection in the review. We are not. None of Plaintiffs’ validation
proposals require Defendants to review a greater number of documents than Defendants
propose—rather, they require Defendants to validate that all the different components of their
review was sufficiently complete. The Parties seemed to agree that under any validation
protocol, review should continue until evidence demonstrates objectively that it should stop. As
stated in our letter of February 26, 2021, “70-80% recall is often considered reasonable by
courts,” and “TAR should conclude when it would be disproportionate to continue and when the
number of responsive documents that have been missed is low, provided that the missed
documents are neither novel nor important.” And, during Tuesday’s meet and confer, we
indicated that 70% recall is likely a reasonable goal, particularly given search term pre-culling
which is likely to reduce recall. We only ask that recall be calculated using valid and robust
scientific measurements, as further discussed below.



1
    We understand that Defendants MCNS-U and Mitsui Chemicals America are not planning to use TAR.
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    I.       Richness/Estimation Sample

        Defendants (except for Wanhua) have proposed to initiate their review using an
estimation/richness sample of a size derived based on a 95% confidence and a 5% margin of
error, and in the case of Dow and Covestro, generalized with a standard response distribution of
50%.2 Plaintiffs request that a specific number for the richness sample be disclosed, ideally 2400
documents.

        Defendants’ statistical measure for deriving the richness sample will yield a large margin
of error. For example, if the richness of the review population is 5% and the margin of error is
plus or minus 5%, that would mean that between 0% and 10% of the documents are estimated to
be responsive. Translating that to numbers, that means if the collection is one million
documents, and the richness estimate is 50,000 documents, that means there are somewhere
between zero and 100,000 responsive documents. That estimate is so imprecise to be almost
useless. Defendants intend to use the richness sample later in the review to determine when to
stop the review and to estimate recall. So, if they set the recall at 70%, that would mean that the
review was done when approximately 35,000 responsive documents are found by the TAR tool.
But because the confidence interval ranges from 0 to 100,000, it is possible that there are only
25,000 responsive documents to be found and therefore the entire collection would need to be
reviewed and the estimated recall would not be achieved, or, if there were actually 85,000
responsive documents to be found, by stopping the review at 35,000, the recall achieved would
be 41% rather than 70%. This is neither an appropriate way to determine when to stop TAR, nor
a valid estimate of recall. These concerns can be ameliorated by using the initial richness sample
only as a general guidepost, stopping the TAR effort when the newest review sets have only 5-
10% richness and none of the documents are novel or important and then doing a proper
calculation of recall at the end of the review effort as Plaintiffs have proposed.

         We also respond to the concern raised by one of Defendants’ counsel during Tuesday’s
meet and confer, that adopting Plaintiffs’ proposal for a set number of documents may result in
lower statistical confidence or scientific precision. This is false. A sample of 2,400 cannot
possibly give “lower statistical confidence” than a margin of error of 2% with 95% confidence.
In fact, it will give a somewhat better estimate than that. A 5% margin of error is simply
inadequate as detailed above.

2
  Plaintiffs also disagree that 95% confidence with a 5% margin of error (i.e., approximately 400 documents in the
sample) is “standard industry practice.” 95% confidence with a 2% margin of error is often accepted for measuring
richness, but in any event, this is a meaningless argument because Defendants’ entire process is fundamentally
flawed as described herein.
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        Wanhua has proposed to use a “control set,” presumably for the same purposes as a
richness sample, but Wanhua’s disclosures include no objective criteria regarding the size or use
of the control set. Please specify how Wanhua intends to calculate recall and what the “desired
level of recall” referenced in Wanhua’s TAR methodology is.

    II.      Stopping Criteria

         Plaintiffs raised concerns regarding Defendants’ stopping criteria, in particular that
because of the margin of error inherent in Defendants’ proposed richness/estimation samples will
yield at best imprecise and at worse useless estimates of (a) when to stop and (b) the presumed
recall of the TAR effort. The stopping criteria defined by Dow and Covestro propose to stop the
review once “the responsiveness rate of the documents being reviewed meets or falls below the
expected prevalence for the entire review population” is fundamentally flawed for the reasons
described above. It will either underestimate or overestimate recall of the TAR effort to a large
degree. We take this to mean that if the expected prevalence (calculated through the richness
sample) of a one million document review is 10%, Covestro and Dow will stop reviewing when
100,000 responsive documents are retrieved. BASF proposes that review should stop when
“sufficient recall” is reached. We take this to mean that in a one million document review with a
prevalence of 10% and a recall of 75%, review will conclude when 75,000 responsive documents
are retrieved. If our assumptions are incorrect, this is not acceptable. Wanhua proposes a similar
metric based on recall, but has not described how recall is to be estimated. Huntsman has
provided no information on stopping criteria.

        To reiterate, the problem with Dow, Covestro, BASF, and presumably Wanhua’s
stopping criteria stems from the margin of error of the richness/estimation sample under
Defendants’ formulation, the richness sample will be accurate at 95% confidence with a 5%
margin of error. That means (95 times out of 100), that if the richness sample estimates 10%
prevalence (that 10% of documents in the entire population are responsive), with a review
population of one million documents, somewhere between 50,000 and 150,000 documents are
likely to be responsive (10% of 1 million = 100,000 +/- 5%, or 50,000 hence 50,000-150,000).3
Using this example, Dow and Covestro propose to stop the TAR effort when 100,000 responsive
documents are collected. But, it is entirely possible and within the margin of error that only
50,000 responsive documents exist—and therefore finding 100,000 responsive documents would
be impossible even if all one million documents were to be reviewed. Alternatively, if 150,000
responsive documents exist, and the review stops at 100,000, only would only have captured

3
 During our meet and confer, the undersigned raised this example and counsel for Defendants suggested that the
math was incorrect—that a 5% margin of error meant that in a review population of one million, with estimated
prevalence of 10%, between 95,000 and 105,000 documents would be responsive (95 times out of 100). We have
confirmed with our experts that the above example is correct because the 5% margin of error applies to the entire
population (of 1 million documents), not the sample (i.e. the number of responsive documents).
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two-thirds or 67% of the responsive documents would be captured, which is less than what is
being suggested. This approach to determining when to stop and how to calculate recall is
fundamentally flawed and unacceptable to Plaintiffs.

         Additionally, Defendants proposed stopping criteria provides no information on the
burden of conducting further review. As we explained during the meet and confer, if the next
10,000 documents in the review queue have a high richness, e.g. 90%, then Defendants stopping
criteria would ignore those responsive documents without any regard to proportionality or
burden of continuing to review documents where nine out of every ten documents were still
responsive. Please let us know your justification for potentially cutting off review when the
burden of increasing recall is potentially minimal.

        Plaintiffs have proposed a different, and more valid stopping criteria. Namely, review
should stop when the last few batches of documents identified by TAR for human review
contains no more than five to ten percent responsive documents, and none of the responsive
documents is novel and/or more than marginally relevant. This does not mean that recall should
reach 90-95%; simply that it is no longer proportionate to continue the review when less than
five or ten in 100 documents is responsive and those documents are neither novel nor important.
This is not only a reasonable metric but it imposes no additional burden. All Plaintiffs’ proposal
provides is that the review cease once it appears likely that further review is unlikely to yield
additional responsive documents with sufficient quantity, quality, or materiality to justify
continuing. Please let us know if you are willing to adopt Plaintiffs’ proposal, and if not, your
reasons for refusing to do so.

        We also expect that recall will be calculated based on the entire document population
using a valid mathematical method such as that provided in Appendix A to Plaintiffs’ TAR
disclosures. If Defendants are unwilling to do so, please explain why.

   III.    Elusion Test

         Plaintiffs also have concerns about Defendants’ elusion sampling methodology. As an
initial matter, elusion only estimates the percent of documents that have been missed. Unlike
recall, it says nothing about what percent has been found. If there are one million documents in
the collection, and 5% are responsive (i.e., 50,000 documents), if the elusion estimate is 1%, that
may sound low, but it means that 10,000 responsive documents (or 20% of them) have been
missed.

        Other problems with the Defendants’ elusion samples stem from the same concerns
regarding the richness sample. With Defendants’ proposed 95% confidence and 5% margin of
error (by which they seem to mean 400 documents), the range in absolute number of responsive
documents will be immense, especially since the elusion percent is expected to be far lower than
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the richness percent. So, for example, if the elusion is 1% and the margin of error is 5%,
Defendants are saying that there are somewhere between -4% (which is meaningless) and +6%
responsive documents missed. Translating that to numbers, if the elusion estimate suggests that
1% (or 10,000 documents have been missed), that means that the confidence interval on the
elusion estimate is between 0 documents and 60,000 documents. That is a useless estimate.
Elusion is simply not an adequate replacement for a proper recall estimate that shows what
percent of the responsive documents have been found. While the elusion estimate can be
compared to the estimated number of documents identified by the richness estimate to give a
coarse understanding of the progress of a review effort, it is at best imprecise and when
calculated using a margin of error of 5%, meaningless.

         During our meet and confer Wanhua’s counsel indicated that it would not use an elusion
test to validate the review. However, Wanhua’s TAR disclosures proposes (at 6(a)-(b)) that it
will review a “validation set” of unreviewed documents. This is an elusion test in all but name.
Please let us know if this was simply a miscommunication or if Wanhua is no longer planning to
apply the “validation” in section 6 of its TAR methodology disclosure.

        A simple, and more importantly, valid, method of determining how many documents
have been found and how many have been missed is to calculate recall as suggested by Plaintiffs
in section VII of their TAR methodology disclosures. Only then will the estimate provide a
meaningful mechanism for determining whether the review is adequate. Please let us know why
you are unwilling to calculate recall as proposed.

        If you do not agree to adopt Plaintiffs’ proposal, please let us know: (1) the precise
number of documents you propose to conduct the elusion sample on; (2) whether you will
disclose the number of responsive documents found in the elusion sample; (3) if you will identify
and produce the responsive documents found in the elusion sample; and (4) how you intend to
calculate recall. If any Defendants are unwilling to answer these questions, please tell us why.

   IV.     Validation Procedures and Recall Estimation

        Plaintiffs proposed a robust validation protocol that will allow the Parties to accurately
estimate recall. During our meet and confer, you asked us to provide exemplary court orders with
similar provisions, and we have appended a few to this letter. Plaintiffs’ proposal is minimally
burdensome – a review sampling of 5000 documents (a figure Plaintiffs are willing to negotiate
to avoid motion practice). Aside from the minimal burden, Plaintiffs’ validation proposal
provides a robust mechanism that will, in part, ensure compliance with Fed. R. Civ. P. 26(g).
Similarly robust validation procedures have been ordered regarding TAR, and even well before
TAR was used. See e.g. In re Seroquel Prod. Liab. Litig., 244 F.R.D. 650, 662 (M.D. Fla. 2007)
(“Common sense dictates that sampling and other quality assurance techniques must be
employed to meet requirements of completeness.”); In re Mercedes-Benz Emissions Litigation,
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No. 2:16-CV-881, 2020 WL 103975, at *2 (D.N.J. Jan. 9, 2020) (“The parties agree and case law
dictates that appropriate validation be utilized to test search results.”). Methodologies like
Plaintiffs’ proposal to sample and validate the review population have been approved of and
ordered by Courts. Protocol Regarding Validation of Technology-Assisted Review (“TAR”), In
re: Valsartan, Losartan, and Irbesartan Prods. Liab. Litig., No. 1:19-md-2875, ECF 695 (N.J.
Dec. 23, 2020); Order Regarding Search Methodology for Electronically Stored Information, In
re: Broiler Chicken Antitrust Litig., No. 1:16-cv-8637 (N.D. Ill. Jan. 3, 2018).

        Defendants also suggested during our meet and confer that Plaintiffs have no right to the
type of validation protocols or transparency regarding the information we are requesting.4
Defendants are no doubt cognizant of their obligations pursuant to Federal Rule of Civil
Procedure 26(g) to certify that their disclosures under Rule 26(1) are “complete and correct,”
which the Advisory Committee notes includes “mak[ing] a reasonable effort to assure that the
client had provided all the information and documents available to him that a responsive to the
discovery demand.” Courts have interpreted this requirement as requiring validation and quality
assurance. See e.g. City of Rockford v. Mallinckrodt ARD Inc., 326 F.R.D. 489 (N.D. Ill. 2018);
see also Maura R. Grossman & Gordon V. Cormack, Comments on "The Implications of Rule
26(g) on the Use of Technology-Assisted Review", 7 Fed. Cts. L. Rev. 285, 302 (2014).
Given the deficiencies in Defendants’ proposed validation protocols identified above, and refusal
to implement Plaintiffs validation proposal at this juncture, we ask: how are Defendants
themselves intending to ensure the completeness of the review in compliance with their Fed. R.
Civ. P. 26(g) obligations?

    V.      Search Terms

       We again raise a number of search-term related matters that have been communicated
and discussed previously.

         A. Pre-culling of search terms

       Plaintiffs reiterate their prior arguments that further pre-culling through narrowed search
terms are inappropriate, and reiterate our request for the following: (a) provide a counter-
proposal of search terms, i.e., specifically identify the modifications necessary to the present list

4 We also clarified during the meet and confer that at this time we are not requesting Defendants agree to

produce non-responsive documents, even though similar transparency has been required in other cases.
Plaintiffs only ask that Defendants produce responsive, non-privileged documents, and the results (that is,
accounting) of validation procedures.
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of search terms and why they are needed; (b) provide hit counts for the proposed revised search-
term list; (c) test a sample of the documents Defendants propose to eliminate through the use of
narrower search terms (i.e. the population of documents that hit on Plaintiffs’ preliminary list of
proposed terms but not Defendants’ revised terms) and provide Plaintiffs with the recall of this
sample, as well as copies of responsive documents that were missed by the use of the narrower
set of search terms.

          B. DOJ Search Terms

        Defendants have not responded to three prior requests5 to provide the search terms used
in the DOJ productions. Please let us know if you will provide those terms. If not, please explain
your basis for withholding them.

          C. Identification of Additional Search Terms

        Plaintiffs asked Defendants6 to propose additional search terms that are not captured by
Plaintiffs’ preliminary proposal, and to conduct a reasonable inquiry with each Defendant to
determine which search terms may have been missed. If you are refusing to conduct this inquiry,
please provide your basis for not doing so.7

        As with your present refusal to adopt Plaintiffs’ proposed validation protocol, we also ask
how Defendants will know whether they have conducted a reasonable investigation, in
compliance with their Fed. R. Civ. P. 26(g) obligations, if they do not employ any sampling and
validation or inquire with your clients about additional search terms?

    VI.      Additional Matters

        Plaintiffs’ February 26, 2021 letter requested information about a number of other topics
related to Defendants’ TAR protocols. Please provide us with a response to these questions:

          1. Will Defendants create an independent, manual review process for documents not
             suited to TAR such as photographs, audio files, certain spreadsheets, and the like?

5
  Plaintiffs raised this request during the February 9, 2021 meet and confer, in an email of February 15, 2021, and in
a letter of February 26, 2021. No Defendant has responded to this request.
6
  Plaintiffs requested Defendants propose their own search terms in letters sent to each Defendant during September
and October of 2020 when Plaintiffs provided an initial list of search terms. Plaintiffs raised this request again in
letters of January 24, 2021, February 8, and February 26, 2021.

7 In a recent letter, counsel for Dow asked (for the first time) if Plaintiffs are also undertaking this process. We

have already done so and continue to follow up. We will let you know if our clients have any
recommendations for additional search terms.
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           Relatedly, will Defendants apply TAR to text messages, or review them
           independently?

        2. Will Defendants disclose the types of “junk” files removed from the review
           population?

        3. Will Defendants allow Plaintiffs to provide documents that will be used as training
           samples?

        4. Will Defendants commit to collecting certain categories of documents responsive to
           Plaintiffs’ RFPS and not conductive to search terms or TAR? Likewise, will
           Defendants produce known responsive documents (i.e. those documents known to
           Defendants or their Counsel to be responsive, regardless of the method of
           identification)?


We look forward to your responses.

                                             Very truly yours,



                                             /s/ Sarah R. LaFreniere
                                             Sarah R. LaFreniere
 cc:     Megan E. Jones
         Jason S. Hartley
         Jason Lindner
         William Pietragallo, II
